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               1                                   UNITED STATES DISTRICT COURT
                                                        DISTRICT OF NEVADA
               2

               3   ORACLE USA, INC., a Colorado corporation;             Case No. 2:10-cv-0106-LRH-PAL
                   ORACLE AMERICA, INC., a Delaware
               4   corporation; and ORACLE INTERNATIONAL                 STIPULATION AND [PROPOSED]
                   CORPORATION, a California corporation,                ORDER REGARDING RULE 67
               5                                                         DEPOSIT AND BRIEFING
                                  Plaintiffs,                            SCHEDULE FOR ORACLE’S
               6          v.                                             RENEWED MOTION FOR
                                                                         ATTORNEYS’ FEES
               7   RIMINI STREET, INC., a Nevada corporation;
                   AND SETH RAVIN, an individual,
               8
                                  Defendants.
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           11             WHEREAS on September 21, 2016, the Court entered an award of $28,502,246.40 in
           12      attorneys’ fees in favor of Oracle (Dkt. 1049);
           13             WHEREAS on October 18, 2016, the Court entered a final judgment that included the
           14      attorneys’ fees award (Dkt. 1076);
           15             WHEREAS on October 31, 2016, Rimini paid Oracle the judgment in full, including the
           16      complete attorneys’ fees award plus postjudgment interest (Dkt. 1096, 1097);
           17             WHEREAS on January 8, 2018, the U.S. Court of Appeals for the Ninth Circuit affirmed
           18      liability and prejudgment interest for Oracle’s copyright infringement claims (Oracle USA, Inc. v.
           19      Rimini Street, Inc., 879 F.3d 948 (9th Cir. 2018));
           20             WHEREAS the Ninth Circuit reversed liability and prejudgment interest for the state
           21      computer hacking statutes—a sum total of $19,764,595.85 (Dkt. 1076 ¶¶ 3-4)—and reversed
           22      $1,515,285.45 in taxable costs (Rimini, 879 F.3d at 962-65) (hereinafter, the “Reversed Sums”);
           23             WHEREAS the Ninth Circuit “vacate[d] the [attorneys’] fee award and remand[ed] for
           24      reconsideration” (Rimini, 879 F.3d at 965);
           25             WHEREAS on March 13, 2018, Oracle filed a Motion to Deposit Attorneys’ Fee Award with
           26      the Court, requesting permission pursuant to Rule 67 of the Federal Rules of Civil Procedure to
           27      deposit with the Court the $28,502,246.40 attorneys’ fees award vacated by the Ninth Circuit, which
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               1   award Rimini previously paid to Oracle, pending resolution of Oracle’s renewed motion for
               2   attorneys’ fees (Dkt. 1114);
               3            WHEREAS the parties now agree that Oracle can deposit $28,502,246.40 with the Court
               4   pursuant to Rule 67, on the conditions that Oracle (1) withdraws its pending motion, (2) promptly
               5   pays back to Rimini the Reversed Sums with postjudgment interest, and (3) agrees to provide Rimini
               6   with 60 days to oppose Oracle’s renewed motion for attorneys’ fees (Dkt. 1118); and
               7            WHEREAS Rule 67 requires from the Court an “order permitting deposit” (Fed. R. Civ.
               8   P. 67(b));
               9            THEREFORE IT IS HEREBY STIPULATED by and between the Parties that:
           10               1.   Oracle shall withdraw its pending Motion to Deposit Attorneys’ Fee Award with the
           11      Court.
           12               2.   Oracle shall promptly pay back to Rimini all Reversed Sums with postjudgment interest.
           13               3.   The Parties request that the Court enter the attached Rule 67 Proposed Order, which
           14      authorizes Oracle to deposit $28,502,246.40 with the Court in its Registry Account, to be disbursed
           15      with appropriate interest according to this Court’s resolution of Oracle’s renewed motion for
           16      attorneys’ fees. This disbursement is to occur without respect to either party’s subsequent appeal
           17      from this Court’s decision.
           18               4.   Rimini shall have 60 days from the date of Oracle’s renewed motion for attorneys’ fees
           19      to file its opposition brief to Oracle’s renewed motion for attorneys’ fees.
           20

           21      SO STIPULATED AND AGREED.
           22      DATED: March 29, 2018                         GIBSON, DUNN & CRUTCHER LLP
           23                                                    By:     /s/ Mark A. Perry
                                                                         Mark A. Perry
           24
                                                                 Attorneys for Defendants Rimini Street, Inc. and Seth
           25                                                    Ravin
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               1   DATED: March 29, 2018                        BOIES SCHILLER FLEXNER LLP
               2                                                By:    /s/ William Isaacson
                                                                       William Isaacson
               3
                                                                Attorneys for Plaintiffs Oracle USA, Inc., Oracle
               4                                                America, Inc. And Oracle International Corporation
               5
                                                      ATTESTATION OF FILER
               6
                            The signatories to this document are William Isaacson and me, and I have obtained
               7
                   Mr. Isaacson’s concurrence to file this document on his behalf.
               8

               9   DATED: March 29, 2018                        GIBSON, DUNN & CRUTCHER LLP
           10                                                   By:    /s/ Mark A. Perry
                                                                       Mark A. Perry
           11

           12      PURSUANT TO STIPULATION, IT IS SO ORDERED.

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           15      Dated:
                                                                       Hon. Larry R. Hicks
           16                                                          United States District Judge

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               1                                     CERTIFICATE OF SERVICE
               2          I hereby certify that on this date, I caused to be electronically uploaded a true and correct

               3   copy in Adobe “pdf” format of the above document to the United States District Court’s Case

               4   Management and Electronic Case Filing (CM/ECF) system.             After the electronic filing of a

               5   document, service is deemed complete upon transmission of the Notice of Electronic Filing (“NEF”)

               6   to the registered CM/ECF users. All counsel of record are registered users.

               7   DATED: March 29, 2018

               8                                               GIBSON, DUNN & CRUTCHER LLP
               9                                               By:     /s/ Mark A. Perry
                                                                       Mark A. Perry
           10
                                                               Attorneys for Defendants Rimini Street, Inc. and Seth
           11                                                  Ravin
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